           CASE 0:23-cv-01497-JRT-DTS Doc. 24 Filed 02/28/24 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA


LUCILA MARTINEZ-VIVANCO,                                 Civil No. 23-1497 (JRT/DTS)

                     Petitioner,

v.                                              ORDER

FCI WASECA WARDEN,

                     Respondent.


      Lucila Martinez-Vivanco, Reg. No. 22293-171, FCI Waseca, P.O. Box 1731,
      Waseca, MN 56093, pro se petitioner.

      Ana H Voss, Lucas Draisey, Assistant United States Attorneys, UNITED
      STATES ATTORNEY'S OFFICE, 300 S 4th St Ste 600, Minneapolis, MN
      55415, for respondent.

      United States Magistrate Judge David T. Schultz filed a Report and

Recommendation on January 23, 2024. (ECF No. 23) No objections have been filed to that

Report and Recommendation in the time period permitted.

      The Court, being duly advised in the premises, upon the Report and

Recommendation of the Magistrate Judge, and upon all of the files, records and

proceedings herein, IT IS HEREBY ORDERED that:

      1.       Martinez-Vivanco’s habeas petition [ECF No. 1] is DENIED.

      2.       Petitioner’s motion to be heard and to have her 28 U.S.C. 2241 petition

               granted [ECF No. 13] is DENIED as moot.
           CASE 0:23-cv-01497-JRT-DTS Doc. 24 Filed 02/28/24 Page 2 of 2




      3.       Petitioner’s motion to have her 28 U.S.C. 2241 petition granted [ECF No. 17]

               is DENIED as moot.

      LET JUDGMENT BE ENTERED ACCORDINGLY.


DATED: February 27, 2024
at Minneapolis, Minnesota                         _____ s/John R. Tunheim ______
                                                         JOHN R. TUNHEIM
                                                     United States District Court




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